       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Justin Andrew Harvey
        v. Commonwealth of Virginia
        Record No. 0723-21-2
        Opinion rendered by Chief Judge Decker on
         January 24, 2023

    2. Quincy Dione Baskerville, s/k/a
        Quincy Dionne Baskerville
       v. Commonwealth of Virginia
       Record No. 0837-21-2
       Opinion rendered by Judge Causey on
        February 21, 2023

    3. Akeem Alee Calokoh
       v. Commonwealth of Virginia
       Record No. 0226-22-4
       Opinion rendered by Judge AtLee on
        February 28, 2023

    4. Katherine Louise Carter,
        Executor of the Estate of Worth Harris Carter, Jr., Deceased
       v. Wake Forest University Baptist Medical Center and
        Wake Forest University Health Services
       Record No. 0309-22-3
       Opinion rendered by Judge White on
        March 7, 2023

    5. Shaquawn Demonte Warren
       v. Commonwealth of Virginia
       Record No. 0533-22-1
       Opinion rendered by Judge Humphreys on
        March 7, 2023

    6. Bradford T. Cellucci
       v. Commonwealth of Virginia
       Record No. 0195-21-4
       En banc opinion rendered by Chief Judge Decker on
        March 14, 2023
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Nicholas DeLuca, s/k/a, etc.
   v. Commonwealth of Virginia
   Record No. 1150-20-4
   Opinion rendered by Judge Russell
     on October 26, 2021
   Judgment of Court of Appeals affirmed by published order on April 13, 2023
   (220185)

2. Nicholas DeLuca
   v. Commonwealth of Virginia
   Record No. 1151-20-4
   Opinion rendered by Judge Russell
     on October 26, 2021
   Judgment of Court of Appeals affirmed by published order on April 13, 2023
   (220185)

3. Craig Carnell Maryland
   v. Commonwealth of Virginia
   Record No. 0254-22-2
   Opinion rendered by Judge White
    on September 20, 2022
   Refused (220680)

4. Andrew Joseph Haefele
   v. Commonwealth of Virginia
   Record No. 0508-21-2
   Opinion rendered by Judge Beales
    on October 18, 2022
   Refused (220747)

5. Anthony Patrick Washington
   v. Commonwealth of Virginia
   Record No. 1256-21-2
   Opinion rendered by Chief Judge Decker
    on October 18, 2022
   Refused (220486)
